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               IN THE UNITED STATES BANKRUPTCY COURT FOR THE
                       WESTERN DISTRICT OF OKLAHOMA

In Re:                                        )
                                              )
MICHAEL JOHN MOHR                             )      Bk. No. 17-13915-JDL
CHRYSTAL RENE MOHR                            )      Chapter 7
                                              )
                       Debtor (s)             )

                 STATEMENT OF INTENTION FOR INDIVIDUALS

          The Debtors in the above styled case, requests the following to be made to their
Chapter 7 bankruptcy case.



         1)     Statement of Intention for Individuals filing Under Chapter 7
                Official Form 108


                                              /s/ Michael John Mohr
DATED: January 31, 2019                       ___________________________
                                              MICHAEL JOHN MOHR

                                              /s/ Chrystal John Mohr
                                              ___________________________
                                              CHRYSTAL RENE MOHR

                                              /s/ Kenneth L. Spears
                                              _________________________
                                              Kenneth L. Spears, OBA #8484
                                              210 N.W. 10th Street
                                              PO Box 687
                                              Oklahoma City, Oklahoma 73101
                                              (405) 236-1503
                                              (405) 236-5818 fax
                                              klspears@coxinet.net
                                              Counsel for Debtors
